Case 2:18-cv-12541-VAR-SDD ECF No. 7 filed 09/11/18       PageID.56   Page 1 of 3




                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN

STRIKE 3 HOLDINGS, LLC,                 )
                                        )
            Plaintiff,                  ) Civil Case No. 2:18-cv-12541-VAR-
SDD
                                        )
v.                                      )
                                        )
JOHN DOE subscriber assigned IP         )
Address 68.41.100.170,                  )
                                        )
            Defendant.                  )
                                        )

             ORDER ON MOTION FOR LEAVE TO SERVE
     THIRD PARTY SUBPOENA PRIOR TO A RULE 26(f) CONFERENCE

       THIS CAUSE came before the Court upon Plaintiff’s Motion for Leave to

Serve A Third Party Subpoena Prior to a Rule 26(f) Conference (the “Motion”),

and the Court being duly advised in the premises does hereby:

       FIND, ORDER AND ADJUDGE:

       1.   Plaintiff established that “good cause” exists for it to serve a third

party subpoena on Comcast Cable (hereinafter the “ISP”). See UMG Recording,

Inc. v. Doe, 2008 WL 4104214, *4 (N.D. Cal. 2008); and Arista Records LLC v.

Does 1-19, 551 F. Supp. 2d 1, 6–7 (D.D.C. 2008).

       2.   Plaintiff may serve the ISP with a Rule 45 subpoena commanding the

ISP to provide Plaintiff with the true name and address of the Defendant to whom



                                        1
Case 2:18-cv-12541-VAR-SDD ECF No. 7 filed 09/11/18          PageID.57    Page 2 of 3



the ISP assigned an IP address as set forth in the Complaint. Plaintiff shall attach

to any such subpoena a copy of this Order.

       3.    Plaintiff may also serve a Rule 45 subpoena in the same manner as

above on any service provider that is identified in response to a subpoena as a

provider of Internet services to one of the Defendants.

       4.    If the ISP qualifies as a “cable operator,” as defined by 47 U.S.C. §

522(5), which states:

      the term “cable operator” means any person or group of persons

      (A) who provides cable service over a cable system and directly or
          through one or more affiliates owns a significant interest in such
          cable system, or

      (B) who otherwise controls or is responsible for, through any
          arrangement, the management and operation of such a cable
          system.

it shall comply with 47 U.S.C. § 551(c)(2)(B), which states:

      A cable operator may disclose such [personal identifying] information
      if the disclosure is . . . made pursuant to a court order authorizing such
      disclosure, if the subscriber is notified of such order by the person to
      whom the order is directed.

by sending a copy of this Order to the Defendant.

       5.    Plaintiff may only use the information disclosed in response to a Rule

45 subpoena served on the ISP for the purpose of protecting and enforcing

Plaintiff’s rights as set forth in its Complaint.



                                            2
Case 2:18-cv-12541-VAR-SDD ECF No. 7 filed 09/11/18   PageID.58   Page 3 of 3



     DONE AND ORDERED this 11th day of September, 2018.



                            By: S/Victoria A. Roberts
                                 UNITED STATES DISTRICT JUDGE




                                    3
